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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Evelyn Class,                               )
                                            )
Plaintiff,                                  )
                                            )           No:
v.                                          )
                                            )
Regional Adjustment Bureau, Inc., a         )
Tennessee Corporation; Jones Wood,          )
Individually, and as Agent, Apparent Agent, )
Servant, and/or Employee of Regional        )
Adjustment Bureau; and Agent Lisa,          )
Individually, and as Agent, Apparent Agent, )
Servant, and/or Employee of Regional        )
Adjustment Bureau, Inc.                     )
                                            )           JURY DEMANDED
Defendants.                                 )

                               COMPLAINT AT LAW


        NOW COMES the Plaintiff, Evelyn Class, by her Attorneys, Robert J.
Semrad & Associates, L.L.C., and pursuant to this Complaint at Law, states the
following against the above named Defendants, to wit: Regional Adjustment
Bureau, Inc.; Jones Wood; and Agent Lisa:


                                  JURISDICTION


1.      The jurisdiction of the court is invoked pursuant to the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”). Venue is
proper as the actions that give rise to this complaint occurred, Plaintiff resides,
and Defendants conduct business within this District.




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                                       PARTIES

2.       Plaintiff, Evelyn Class (hereinafter “Plaintiff”), is a natural person, a
citizen of the County of Cook, State of Illinois, and United States of America, and
is a “consumer” as that term is defined by 15 U.S.C. § 1692(a)(3).
3.      Defendant, Regional Adjustment Bureau, Inc. (hereinafter, “RAB”) is a
Tennessee Corporation that conducts business in the Northern District of the
State of Illinois, and is a “debt collector” as that term is defined by 15 U.S.C. §
1692(a)(6).
4.      Defendant, Jones Wood, is a natural person doing business in the
County of Cook, State of Illinois, United States of America, and is a “debt
collector” as that term is defined by 15 U.S.C. § 1692(a)(6).
5.      At all relevant times Defendant, Jones Wood, was the agent, apparent
agent, servant and/or employee of RAB and was acting in the course scope of
her agency, servitude and/or employment.
6.      Defendant, Agent Lisa, is a natural person doing business in the County
of Cook, State of Illinois, United States of America, and is a “debt collector” as that
term is defined by 15 U.S.C. § 1692(a)(6).
7.      At all relevant times Defendant, Agent Lisa, was the agent, apparent
agent, servant and/or employee of RAB acting in the course scope of her
agency, servitude and/or employment.


                             FACTUAL ALLEGATIONS


8.      In 2008, Plaintiff incurred a debt to Seabank.
9.      This debt was for personal use.
10.     This debt was a “debt” as that term is defined by 15 U.S.C. § 1692(a)(5).
11.     That thereafter, Plaintiff began to receive calls from RAB’S agents,
apparent agents, servants, and/or employees attempting to collect on the
aforementioned debt.




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12.    During these calls, Plaintiff informed said agents, apparent agents,
servants, and/or employees of RAB of her bankruptcy and that she was
represented by an attorney.
13.    Some of the aforementioned calls were made by Defendant, Jones
Wood, and were made to Plaintiff’s place of employment.
14.    One such call by Defendant, Jones Wood, was received by one of
Plaintiff’s co-workers at Plaintiff’s place of employment.
15.    During said call, said co-worker informed Defendant, Jones Wood, that
Plaintiff was not allowed to accept personal calls at her place of employment.
16.    Notwithstanding this information, Defendant, Jones Wood, and other
agents, apparent agents, servants, and/or employees of RAB continued to place
collection calls to Plaintiff at her place of employment, in violation of 15 U.S.C.
§1692(c)(3).
17.    During these calls, Defendant threatened Plaintiff negative credit
reporting actions, was abusive, and made other threats to Plaintiff.
18.    In July 2009, Plaintiff contacted Defendant, Agent Lisa, by telephone
regarding the debt and the previous telephone calls to her place of employment.
19.    During said phone call to Defendant, Agent Lisa, Defendant, Agent Lisa
refused to give Plaintiff, her full name, in violation of 15 U.S.C. §1692
20.    The aforementioned calls from Defendants to Plaintiff were collection
communications in violation of numerous and multiple provisions of the FDCPA, as
aforesaid.
21.    As a direct and proximate result of the aforementioned actions, Plaintiff
suffered injuries of a personal and pecuniary nature including, but not limited to:
exacerbation of a pre-existing medical condition, anxiety, embarrassment, and
emotional and physical harm.
22.    As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to
actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an
amount up to $1,000.00 per incident pursuant to 15 U.S.C. § 1692k(a)(2)(A), and
reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
Defendants.



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       WHEREFORE, Plaintiff prays that judgment be entered
•      against Defendants, RAB; Jones Wood; and Agent Lisa, and in favor of
Plaintiff for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
•      against Defendants, RAB; Jones Wood; and Agent Lisa, and in favor of
Plaintiff for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.
§1692k(a)(2)(A);
•      against Defendants, RAB; Jones Wood; and Agent Lisa, and in favor of
Plaintiff for an award of costs of litigation and reasonable attorney’s fees pursuant
to 15 U.S.C. § 1692k(a)(3); and;
•      for any other such further relief as may be just and proper.


Respectfully Submitted,

/s/ Christian D. Elenbaas
Christian D. Elenbaas
ARDC 6291530
Robert J. Semrad & Associates, L.L.C.
Attorneys for Plaintiff
20 S. Clark St., 28th Floor
Chicago, Illinois 60603
Ph 312-913-0625 ext. 151
Fax 312-604-1543




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